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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:08CR479
                       Plaintiff,                   )
                                                    )
       vs.                                          )              ORDER
                                                    )
CAROLYN RUSSELL,                                    )
                                                    )
                       Defendant.                   )
       This matter is before the court on the motion for an extension of time by defendant
Carolyn Russell (Russell) (Filing No. 34). Russell seeks an additional thirty (30) days in
which to file pretrial motions in accordance with the progression order. Russell's counsel
represents that Russell will file an affidavit wherein she consents to the motion and
acknowledges she understands the additional time may be excludable time for the
purposes of the Speedy Trial Act. Russell's counsel represents that government's counsel
has no objection to the motion. Upon consideration and for good cause shown, the motion
will be granted.
       IT IS ORDERED:
       Defendant Russell's motion for an extension of time (Filing No. 34) is granted.
Russell is given until on or before February 13, 2009, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
January 13, 2009 and February 13, 2009, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 13th day of January, 2009.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
